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                   IN THE UNITED STATES DISTRICT COURT                                    DEC 11 2019
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION                            if~ES ~MACK, CLERK
                                                                              y                           DEPCLE

TELLY SCOTT, Individually and on                                                    PLAINTIFF
Behalf of all Others Similarly Situated


vs.                                  No. 4:19-cv-     'n~$- J<&B
WINGS ON THA RUN, LLC, ANTHONY                                                DEFENDANTS
CRUTCHFIELD, and KEITH WORTHEN                      This case assigned to Dist~udge             BAke r-
                                                    and to Magistrate Judge       /Sf.Ar D~
                ORIGINAL COMPLAINT-COLLECTIVE ACTION


        COMES NOW Plaintiff Telly Scott ("Plaintiff'), by and through his attorneys

Tess Bradford and Josh Sanford of the Sanford Law Firm, PLLC, and for his

Original Complaint-Collective Action ("Complaint") against Defendants Wings

on tha Run, LLC, Anthony Crutchfield, and Keith Worthen (collectively

"Defendants"), he does hereby state and allege as follows:

                     I.         PRELIMINARY STATEMENTS

        1.    This is a collective action brought by Plaintiff, individually and on

behalf of all similarly situated employees who were employed by Defendants at

any time within the three-year period preceding the filing of this Complaint.

        2.    Plaintiff brings this action under the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. ("FLSA"), and the Arkansas Minimum Wage Act, Ark. Code

Ann. § 11-4-201, et seq. ("AMWA"), for declaratory judgment, monetary

damages, liquidated damages, prejudgment interest, costs and a reasonable

attorney's fee as a result of Defendants' failure to pay Plaintiff and all similarly


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situated employees minimum and overtime wages as required by the FLSA and

AMWA.

                     II.          JURISDICTION AND VENUE

      3.     The United States District Court for the Eastern District of Arkansas

has subject matter jurisdiction over this suit under the provisions of 28 U.S.C. §

1331 because this suit raises federal questions under the FLSA.

      4.      Plaintiffs claims under the AMWA form part of the same case or

controversy and arise out of the same facts as the FLSA claims alleged in this

complaint. Therefore, this Court has supplemental jurisdiction over Plaintiffs

AMWA claims pursuant to 28 U.S.C. § 1367(a).

       5.    Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1)

and (c)(2), because the State of Arkansas has personal jurisdiction over

Defendants, and Defendants therefore "reside" in Arkansas.

       6.     Plaintiff was employed by Defendants as a cook at Defendants'

restaurant located in the Central Division of the Eastern District of Arkansas.

       7.     The acts alleged in this Complaint had their principal effect within

the Central Division of the Eastern District of Arkansas, and venue is proper in

this Court pursuant to 28 U.S.C. § 1391.

                               Ill.        THE PARTIES

       8.     Plaintiff is an individual and a resident and domiciliary of Pulaski

County.




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      9.        Separate Defendant Wings on tha Run, LLC ("WOTR"), is a

domestic limited liability company with its principal place of business in

Jacksonville.

       10.      WOTR's registered agent for service is Keith Worthen, 1701

Skyline Drive, North Little Rock, Arkansas 72114.

       11.      Separate Defendant Anthony Crutchfield ("Crutchfield") is an

individual and a resident and domiciliary of Arkansas.

       12.      Crutchfield is the owner, principal, officer and/or director of WOTR.

       13.      Crutchfield manages and controls the day-to-day operations of

WOTR, including but not limited to the decision to not pay Plaintiff a proper

minimum wage, nor a sufficient premium for hours worked in excess of forty (40)

per week.

       14.      Separate Defendant Keith Worthen ("Worthen") is an individual and

a resident and domiciliary of Arkansas.

       15.      Worthen is the owner, principal, officer and/or director of WOTR.

       16.      Worthen manages and controls the day-to-day operations of

WOTR, including but not limited to the decision to not pay Plaintiff a proper

minimum wage, nor a sufficient premium for hours worked in excess of forty (40)

per week.

       17.      Defendants own and operate a restaurant in Jacksonsville called

Wings on tha Run.

       18.      Defendants are an "employer'' within the meaning set forth in the

FLSA, and was, at all times relevant hereto, Plaintiff's employer.

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       19.     At all times relevant hereto, Defendants had the power to hire and

fire employees, and to supervise and set wages and wage policies for

employees.

       20.     During the relevant time, Defendants had at least two (2)

employees who engaged in interstate commerce or in the production of goods for

interstate commerce, or who handled, sold, or otherwise worked on goods or

materials that had been moved in or produced for interstate commerce.

       21.     Defendants' annual gross volume of sales made or business done

was not less than $500,000.00 (exclusive of excise taxes at the retail level that

are separately stated) during each of the three calendar years preceding the

filing of this complaint.

       22.     Defendants employed more than four employees within the State of

Arkansas during each of the four years preceding the filing of this Complaint.

                        IV.           FACTUAL ALLEGATIONS

       23.     Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       24.     Plaintiff worked as an hourly-paid employee for Defendants from

April of 2018 until November of 2019.

       25.     At all relevant times herein, Defendants directly hired Plaintiff to

work in their restaurant, paid him wages and benefits, controlled his work

schedules,    duties,    protocols, applications,            assignments and employment

conditions, and kept at least some records regarding his employment.



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       26.     At all relevant times, Plaintiff has been classified as non-exempt

from the overtime provisions of the FLSA.

       27.     During the relevant time, Plaintiff worked as a cook for Defendants

at Wings on tha Run in Jacksonville.

       28.     Plaintiff and similarly situated employees regularly worked more

than forty hours in a workweek.

       29.     At all times relevant to this Complaint, Defendant paid Plaintiff and

similarly situated employees seven dollars per hour.

       30.     Defendant failed to pay Plaintiff and similarly situated employees

one and one-half time their regular rate for all hours worked over forty in a

workweek.

       31.     Defendants did not have a time clock system, nor any method to

record time.

       32.     Plaintiff and similarly situated employees were required to arrive at

least thirty minutes before their shift if opening the restaurant, and were required

to stay at least thirty minutes after their shift if they were closing the restaurant.

       33.     Plaintiffs were not paid for time spent opening or closing the

restaurant.

               V.     REPRESENTATIVE ACTION ALLEGATIONS

       34.     Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully set forth herein.

       35.     At all relevant times, Plaintiff and all others similarly situated have

been entitled to the rights, protections and benefits provided by the FLSA.

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       36.    Plaintiff brings his claim for relief for violation of the FLSA as a

collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on

behalf of all persons who were, are, or will be employed by Defendants as

similarly situated employees at any time within the applicable statute of

limitations period, who are entitled to payment of the following types of damages:

       A.     Minimum wage for all hours worked;

       B.     An overtime premium for all hours worked in excess of forty (40)

per week;

       C.     Liquidated damages; and

       D.     Costs of this action, including attorney's fees.

       37.    The proposed class of opt-in plaintiffs in this case is preliminarily

defined as follows:

                   All employees within the past three years.

       38.    The proposed FLSA collective members are similarly situated in

that they share these traits:

       A.     They performed the same or similar job duties;

       B.     They were subject to Defendants' common policy of not paying a

proper minimum wage;

       C.     They were subject to Defendants' common policy of not paying an

overtime premium for all hours worked over forty (40) per week.

       39.    At all relevant times, Defendants directly hired members of the

putative class; paid them wages; controlled their work schedules, duties,



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protocols, applications, assignments and employment conditions; and kept at

least some records regarding their employment.

      40.     At all relevant times, each member of the putative class regularly

engaged in interstate commerce or handled, sold, or otherwise worked with

goods or materials that had been moved in or produced for interstate commerce.

      41.     Plaintiff is unable to state the exact number of the class, but

believes the number to be more than ten (10) individuals. Defendants can readily

identify the members of the class, who are a certain portion of the current and

former employees of Defendants.

       42.    The names and physical and mailing addresses of the probable

FLSA collective action plaintiffs are available from Defendants, and notice should

be provided to the probable FLSA collective action plaintiffs via first class mail to

their last known physical and mailing addresses as soon as possible.

       43.    The email addresses of many of the probable FLSA collective

action plaintiffs are available from Defendants, and notice should be provided to

the probable FLSA collective action plaintiffs via email to their last known email

address as soon as possible.

       44.    Defendants' actions in denying overtime wages to Plaintiff and all

other similarly situated employees were intentional and constitute a willful

violation of the FLSA.

                        VI.   FIRST CAUSE OF ACTION
                  (Individual Claim for Violation of the FLSA)

       45.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.
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      46.      Plaintiff asserts this claim for damages and declaratory relief

pursuant to the FLSA, 29 U.S.C. § 201, et seq.

      4 7.     At all times relevant to this Complaint, Defendants have been

Plaintiff's "employer" within the meaning of the FLSA, 29 U.S.C. § 203.

      48.      At all times relevant to this Complaint, Defendants have acted, and

continue to act, as an enterprise engaged in commerce within the meaning of the

FLSA, 29 U.S.C. § 203.

       49.     29 U.S.C. §§ 206 and 207 require any enterprise engaged in

commerce to pay all employees a minimum wage for all hours worked up to forty

(40) in one week and to pay one and one-half times regular wages for all hours

worked over forty (40) in a week, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying Department of Labor

regulations.

       50.     Defendants     classified      Plaintiff    as     non-exempt   from   the

requirements of the FLSA.

       51.     Despite the entitlement of Plaintiff to a minimum wage under the

FLSA, Defendants failed to pay Plaintiff a proper minimum wage for some or all

hours worked.

       52.     Despite the entitlement of Plaintiff to overtime payments under the

FLSA, Defendants failed to pay Plaintiff an overtime rate of one and one-half

times his regular rate of pay for all hours worked over forty (40) in each week.

       53.     Defendants' failure to pay Plaintiff minimum and overtime wages

owed was willful.

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       54.    By reason of the unlawful acts alleged herein, Defendants are liable

to Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the three (3)

years prior to the filing of this Complaint

                       VII.  SECOND CAUSE OF ACTION
                  (Individual Claim for Violation of the AMWA)

       55.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       56.    Plaintiff asserts this claim for damages and declaratory relief

pursuant to the AMWA, Ark. Code Ann.§ 11-4-201, et seq.

       57.    At all times relevant to this Complaint, Defendants were Plaintiffs

"employer" within the meaning of the AMWA, Ark. Code Ann.§ 11-4-203(4).

       58.    Arkansas Code Annotated §§ 11-4-210 and 211 require employers

to pay all employees a minimum wage for all hours worked up to forty (40) in one

week and to pay one and one-half times regular wages for all hours worked over

forty (40) in a week, unless an employee meets the exemption requirements of

29 U.S.C. § 213 and accompanying Department of Labor regulations.

       59.    Defendants      classified      Plaintiff    as     non-exempt   from   the

requirements of the AMWA.

       60.    Despite the entitlement of Plaintiff to minimum wage under the

AMWA, Defendants failed to pay Plaintiff a proper minimum wage for some or all

hours worked.




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       61.    Despite the entitlement of Plaintiff to overtime payments under the

AMWA, Defendants failed to pay Plaintiff an overtime rate of one and one-half

times his regular rate of pay for all hours worked over forty (40) in each week.

       62.    Defendants' failure to pay Plaintiff minimum and overtime wages

owed was willful.

       63.    By reason of the unlawful acts alleged herein, Defendants are liable

to Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the 3 years prior

to the filing of this Complaint pursuant to Ark. Code Ann. § 11-4-218

                       VIII. THIRD CAUSE OF ACTION
             (Collective Action Claims for Violation of the FLSA)

       64.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully set forth herein.

       65.    Plaintiff, on behalf of all others similarly situated, asserts this claim

for damages and declaratory relief pursuant to the FLSA, 29 U.S.C. § 201, et

seq.

       66.    At all relevant times, Plaintiff and all similarly situated employees

have been entitled to the rights, protection, and benefits provided by the FLSA.

       67.    At all relevant times, Plaintiff and all similarly situated employees

have been "employees" of Defendants, as defined by 29 U.S.C. § 203(e).

       68.    At all relevant times, Defendants were an "employer'' of Plaintiff and

all similarly situated employees, as defined by 29 U.S.C. § 203(d).

       69.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in

commerce to pay all employees a minimum wage for all hours worked up to forty
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(40) in one week and to pay one and one-half times regular wages for all hours

worked over forty (40) hours in a week, unless an employee meets certain

exemption requirements of 29 U.S.C. § 213 and all accompanying Department of

Labor regulations.

       70.     Defendants classified Plaintiffs and similarly situated employees as

non-exempt from the requirements of the FLSA.

       71.     At all relevant times, Defendants willfully failed and refused to pay a

proper minimum wage to Plaintiff and other similarly situated employees for

some or all hours worked.

       72.     At all relevant times, Defendants willfully failed and refused to pay

an overtime premium to Plaintiff and other similarly situated employees for all

hours worked over forty (40) per week.

       73.     By reason of the unlawful acts alleged herein, Defendants are liable

to Plaintiff and all other similarly situated employees for monetary damages,

liquidated damages, and costs, including reasonable attorneys' fees, for all

violations that occurred within the three (3) years prior to the filing of this

Complaint.

                           IX.      PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Telly Scott, individually and

on behalf of all others similarly situated, respectfully requests this Court grant the

following relief:

       A.      Declaratory judgment that Defendants' practices alleged in this

Complaint violate the FLSA, the AMWA, and their related regulations;

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       B.      Certification of a class under Section 216 of the FLSA of all

individuals similarly situated, as further defined in any motion for the same;

       C.      Judgment for damages suffered by Plaintiff and all others similarly

situated for all unpaid overtime compensation under the FLSA and its related

regulations;

       D.      Judgment for liquidated damages owed to Plaintiff and all others

similarly situated pursuant to the FLSA and its related regulations;

       E.      Judgment for damages suffered by Plaintiff for all unpaid minimum

wage and unpaid overtime compensation under the AMWA and its related

regulations;

       F.      Judgment for liquidated damages owed to Plaintiff pursuant to the

AMWA and its related regulations;

       G.      An order directing Defendants to pay Plaintiff and all others similarly

situated prejudgment interest, a reasonable attorney's fee and all costs

connected with this action; and

       H.      Such other and further relief as this Court deems just and proper.




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                                              Respectfully submitted,

                                              PLAINTIFF TELLY SCOTT

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                                          Jb~ Tess Bradford
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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION


TELLY SCOTT, Individually and on                                      PLAINTIFF
Behalf of all Others Similarly Situated


vs.                                 No. 4: 19-cv-


WINGS ON THA RUN, LLC, ANTHONY                                    DEFENDANTS
CRUTCHFIELD, and KEITH WORTHEN

                     CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hourly-paid worker for Wings on tha Run, LLC, Anthony
Crutchfield, and Keith Worthen within the past three (3) years. I understand this lawsuit
is being brought under the Fair Labor Standards Act for unpaid wages. I consent to
becoming a party-plaintiff in this lawsuit, to be represented by Sanford Law Firm, PLLC,
and to be bound by any settlement of this action or adjudication by the Court.




                                                TELLY SCOTT

                                                December 11, 2019




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